Case: 24-30706      Document: 32-2      Page: 1    Date Filed: 11/15/2024




        United States Court of Appeals
             for the Fifth Circuit                           United States Court of Appeals
                                                                      Fifth Circuit

                           _____________                            FILED
                                                             November 15, 2024
                             No. 24-30706                      Lyle W. Cayce
                           _____________                            Clerk

Darcy Roake, Reverend, on behalf themselves and on behalf
of their minor children, real party in interest A.V., real party
in interest S.V.; Adrian Van Young, on behalf of themselves and
on behalf of their minor children, real party in interest A.V., real
party in interest S.V.; Mamie Broadhurst, Reverend, on
behalf of themselves and on behalf of their minor child, real party in
interest N.W.; Richard Williams, Reverend, on behalf of
themselves and on behalf of their minor child, real party in interest
N.W.; Jeff Sims, Reverend, on behalf of himself and on behalf of his
minor children, real party in interest A.S., real party in
interest C.S. 1, real party in interest C.S. 2; Jennifer
Harding, on behalf of themselves and on behalf of their minor child, real
party in interest A.O.; Benjamin Owens, on behalf of themselves
and on behalf of their minor child, real party in interest A.O.;
David Hawley, on behalf of themselves and on behalf of their minor children
real party in interest A.H., real party in interest L.H.;
Erin Hawley, on behalf of themselves and on behalf of their minor children,
real party in interest A.H, real party in interest L.H.;
Dustin McCrory, on behalf of themselves and on behalf of his minor
children, real party in interest E.M.; real party in
interest P.M., real party in interest L.M.; Gary
Sernovitz, on behalf of themselves and on behalf of their minor child, real
party in interest T.S.; Molly Pulda, on behalf of themselves and
on behalf of their minor child. real party in interest T.S.;
Christy Alkire, on behalf of herself and on hehalf of her minor child,
real party in interest L.A.; Joshua Herlands, on behalf of
himself and on behalf of his minor children, real party in interest
E.H., real party in interest J.H.,
Case: 24-30706      Document: 32-2      Page: 2   Date Filed: 11/15/2024

                              No. 24-30706




                                                     Plaintiffs—Appellees,


                                 versus


Cade Brumley, in his official capacity as the Louisiana State
Superintendent of Education; Conrad Appel, in his official capacity as a
member of the Louisiana State Board of Elementary and Secondary Education
(LSBESE); Judy Armstrong, in her official capacity as a member of the
LSBESE; Kevin Berken, in his official capacity as a member of the
LSBESE; Preston Castille, in his official capacity as a member of
LSBESE; Simone Champagne, in her official capacity as a member of the
LSBESE; Sharon Latten-Clark, in her official capacity as a member
of the LSBESE; Lance Harris, in his official capacity as a member of
LSBESE; Paul Hollis, Louisiana State Board of
Elementary and Secondary Education; Sandy Holloway,
in her official capacity as a member of the LSBESE; Stacey Melerine, in
her official capacity as a member of the LSBESE; Ronnie Morris, in his
official capacity as a member of the LSBESE; East Baton Rouge
Parish School Board; Livingston Parish School Board;
Vernon Parish School Board; St. Tammany Parish
School Board,


                                                  Defendants—Appellants.

             ________________________________

              Appeal from the United States District Court
                  for the Middle District of Louisiana
                        USDC No. 3:24-CV-517
             ________________________________

                      UNPUBLISHED ORDER




                                    2
    Case: 24-30706          Document: 32-2         Page: 3   Date Filed: 11/15/2024

                                          No. 24-30706




Before Smith, Graves, and Engelhardt, Circuit Judges.
Per Curiam:
           IT IS ORDERED that Appellants’ opposed motion for an
administrative stay pending the Court's disposition of the forthcoming
motion for stay pending appeal is GRANTED.1




1
    Judge Graves would deny the motion.




                                               3
